     Case: 1:19-cv-03851 Document #: 42 Filed: 09/17/19 Page 1 of 2 PageID #:4997




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O
                                                          Case No.: 1:19-cv-03851
        Plaintiff,
                                                          Judge Matthew F. Kennelly
v.
                                                          Magistrate Judge Jeffrey Cummings
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.



                                 SATISFACTION OF JUDGEMENT

        WHEREAS, a judgment was entered in the above action on August 7, 2019 [36], in favor

of Plaintiff and against the Defendants Identified in Amended Schedule A. Plaintiff acknowledges

payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following defendants:

                      Def. No.                                     Def. Name

                        495                                       K fitness Store

                        498                                        MITO Store



        THEREFORE, full and complete satisfaction of said judgment as to the above identified

defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
    Case: 1:19-cv-03851 Document #: 42 Filed: 09/17/19 Page 2 of 2 PageID #:4997




DATED: September        J 1-: , 2019               Respectfully submitted,




                                                       ling Jiang
                                                   JiangIP LLC
                                                   111 West Jackson Blvd.
                                                   Suite 1700
                                                   Chicago, Illinois 60604
                                                   Telephone: 312-675-6297
                                                   Email: yanling@jiangip.com

                                                   ATTORNEY FOR PLAINTIFF


Subscribed and sworn before me by Yanling Jiang, on this _}_J_th day of September, 2019.

Given under by hand and notarial seal.



               OFFICIAL SEAL
             OLLIE B. JONES
        Notary Public - State of Illinois   Notary Public
      My Commission Expires 4/07/2022

                                            State of ::[,/II J1 o t S
                                            County of    CO tJ le.
